                       IN THE UNITED STATES DISTRICT COURT
                   FOR THE EASTERN DISTRICT OF NORTH CAROLINA
                                 EASTERN DIVISION
                               Case No. 5:19-cv-00475-BO

JASON WILLIAMS ,
                  Plaintiff,                          ORDER
         V.

AT&T MOBILITY, LLC,
                  Defendant.


         This matter is before the Court on the Motion to Withdraw as Counsel filed by Thomas

Popejoy, Esq. FOR GOOD CAUSE SHOWN, it is ordered that the Motion to Withdraw as Counsel

filed by Thomas Popejoy, is hereby GRANTED, and that Thomas Popejoy is discharged from any

further responsibility for the representation of the Plaintiff in this action .

         Christopher La Vigne, Patrick A. Bradford and William Geraci of the law firm of Pierce

Bainbridge Beck Price & Hecht LLP, will continue to represent the plaintiff in this action, and

Terence S. Reynolds and Lucas D. Garber of the law firm of Shumaker Loop & Kendrick LLP, shall

continue to serve as Local Civil Rule 83 . 1 Cou nse l for the plaintiff in this action .

         SO ORDERED. This the _)              day of Apri l, 2020.

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                                                  TERRENCE W. BOYLE
                                                  CHIEF UNITED STA TES DISTRICT JUDGE




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